Case 4:17-cV-40011-TSH Document 102 Filed 04/18/19 Page 1 of 1

 

U.S. Department of .lustice 741 § ' `
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